
83 So. 3d 929 (2012)
Efrain ZALPA, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D12-378.
District Court of Appeal of Florida, Third District.
March 7, 2012.
Efrain Zalpa, in proper person.
Pamela Jo Bondi, Attorney General, for appellee.
Before ROTHENBERG and SALTER, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
The defendant's motion to appeal the circuit court's January 11, 2012, order denying the defendant's petition for a writ of error coram nobis is treated as a notice of appeal and as the brief. The order below is affirmed on the merits. See Hernandez v. State, 61 So. 3d 1144 (Fla. 3d DCA 2011).
Affirmed.
